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CHILI EXPREss, INC.
vs. Piainu'ff vERIFIED coMPLAINT
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INDEX No.= § ‘=; _M
ATLANTIC CAsUALTY INsURANcE Co. §§ g §§
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Defendant §§ .“;j.»
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Plaintiff for its verified complaint, by their attorney, Angelo A. Rose, Esq., of T""'~
Finger Lakes Legal, Inc., alleges as follows:

1. Upon information and belief, Defendant, Atlantic Casualty
lnsurance Co. is a lawful insurance corporation, authorized to do business in the
State of New York.

2. Plaintiff, CHILI EXPRESS, INC. is a duly licensed domestic
corporation with its principal office located at 86 Woodleaf, Pittsford, New York
and at all times hereinafter mentioned, said corporation was the owner of a
convenience store known as CHILI EXPRESS located at 989 Chili Avenue,
Rochester, New York.

FOR A FIRST CAUSE OF ACTION BY CHILI EXPRESS, INC. VS. ATLANTIC
CASUALTY INSURANCE COMPANY, INC., PLAINTIFF CHILI EXPRESS, INC.
ALLEGES AS FOLLOWS:

3. On or about the 9th day of October, 2014, Defendant Atlantic
Casualty lnsurance Co. duly issued and delivered to Plaintiff, Chili E)<press lnc.
its policy of insurance No. MO35001467, being a standard form of fire insurance
policy wherein and whereby Defendant Atlantic Casualty lnsurance Co., in
consideration of the premiums paid by Plaintiff to Defendant’s agent, did insure
Plaintiff’s business known as Chili E><press lnc. against loss or damage by fire in
an amount not exceeding $75,000.00 for the term of one (l) year, from the 9th day
of October, 2014 to the 9th day of October, 2015 as indicated by a copy of said
policy, attached hereto as E)<hibit A, and made a part of hereof

4. Defendant, Atlantic Casualty lnsurance Co., by said policy of
insurance, did promise and agree to make good unto the Plaintiff for such loss

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and damage during the term of the policy. Said loss has not been paid since
]anuary 19, 2015 when Plaintiff’s insurance agent sent to the Defendant, Atlantic
Casualty lnsurance Co., a Property Loss Notice, a copy of which is attached
hereto and Exhibit B and made a part hereof.

5. On or about the 18th day of ]anuary, 2015, while said policy was in
full force and effect, the business known as Chili Express lnc., located at 989 Chili
Avenue, Rochester, New York, insured by Defendant Atlantic Casualty
lnsurance Co. was totally destroyed by fire. Said fire did not occur by any of the
causes excepted by said policy of insurance

6. The total loss sustained by the Plaintiff by reason of said fire was
more than the sum of $75,000.00, the amount of said policy in full force at the
time of the loss.

7. At the time said policy of insurance was issued as aforesaid, and up
to the time of the loss, Plaintiff was the true and lawful owner of all personal
property and equipment covered by said policy, and no other person or entity
had any interest in said property.

8. There was no other insurance upon said property or any portion
thereof at the time of said destruction.

9. On ]anuary 19, 2015 the agent of the Plaintiff sent to the Defendant,
Atlantic Casualty lnsurance Co., a Property Loss Notice as set forth in E)<hibit B,
and the Plaintiff corporation has fully and duly performed all the conditions of
said policy on its part to be performed

10. More than thirty (30) days have elapsed since the delivery to the
Defendant, Atlantic Casualty Insurance Co. of said Property Loss Notice, and
demand has been made upon Defendant, Atlantic Casualty Insurance Co., for the
sum of $75,000.00 for such loss.

11. The action was commenced within two (2) years from the time of
the fire.

12; Defendant, Atlantic Casualty Insurance Co., has paid to Plaintiff no
part of the amount demanded

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the Defendant Atlantic Casualty lnsurance Co as follows

On the First Cause of Action in the amount of $75,000.00, plus
interest, from ]anuary 19, 2015 to the day of judgment plus the costs and
disbursements of this action

Dated: 1118/ma

 

Angelo A. Rose, ;_/

Attorney for Plaintiff
Finger Lakes Legal, Inc
121 West Main Street

Victor, New York 14564
(585) 924-7420

(585) 924-0267 fa><

STATE OF NEW YORK)
COUNTY OF ONTARIO) ss

TALIB HUSSAIN being duly sworn, deposes and says that deponent is the
president of the plaintiff s corporation in the within matter,' deponent has read
the within Complaint and knows the contents thereof,' that the same is true to
deponent s knowledge except as to matters therein stated to be alleged upon ,__,
information and belief and that as to such matters deponent believes it to §§ true

 

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Sworn to before me this
f§`l"" day of;\l_u,__%# 2016
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WHEREFORE PLAINTIFF, CHlLl EXPRESS INC Demands judgments against

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